Case 3:99-cr-30022-DRH          Document 629 Filed 04/15/10             Page 1 of 3     Page ID
                                          #484



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

       Plaintiff,

v.

ALBERT L. GARDNER,

       Defendant.                                            Case No. 99-cr-30022-11-DRH


                                MEMORANDUM & ORDER

HERNDON, Chief Judge:

               Defendant Albert L. Gardner filed two pro se Motions for Retroactive

Application of Sentencing Guidelines to Crack Cocaine Offense, pursuant to 18

U.S.C. § 3582 (Docs. 568 & 573), as well as a pro se Motion For Emergency Bond

(Doc. 569). Administrative Order No. 1021 was issued in this case (Doc. 570) and

the Office of the Federal Public Defender (“FPD”) for the Southern District of Illinois

was appointed to represent Defendant in this matter for the purposes of determining

whether a reduction of sentence pursuant to 18 U.S.C. § 3582 was appropriate.

               Before the Court is the FPD’s Motion to Withdraw (Doc. 609), on the

basis that the FPD can make no non-frivolous arguments in support of a reduction



       1
          Administrative Order No. 102, dated December 19, 2007, instructs the Clerk of the
Court to appoint the Federal Public Defenders Office to represent each defendant who files a
motion for reduction of sentence based upon the amended advisory sentencing guidelines
regarding the disparity between sentences for convictions of powder cocaine offenses versus crack
cocaine offenses (see United States Sentencing Guidelines § 2D1.1).

                                          Page 1 of 3
Case 3:99-cr-30022-DRH          Document 629 Filed 04/15/10            Page 2 of 3     Page ID
                                          #485



pursuant to 18 U.S.C. § 3582(c). See Anders v. California, 386 U.S. 738, 744

(1967). The Court allowed Defendant time to file a response. To date, no response

has been filed. The FPD has determined, after review of Defendant’s case, that he is

ineligible for a § 3582 sentence reduction. However, the Court notes that Defendant

was released from the custody of the U.S. Bureau of Prisons last year. Thus,

Defendant’s the pending motion for a reduction in sentence is moot, because he has

already served his original prison sentence. See United States v. Forman, 553

F.3d 585, 589 (7th Cir.), cert. denied, 129 S.Ct. 1924 (2009).2


       2
           Even before the motion became moot, the Court lacked jurisdiction to grant a reduction
pursuant to 18 U.S.C. § 3582(c)(2). Section 3582(c)(2) allows the Court to reduce a defendant’s
previously imposed sentence where “a defendant . . . has been sentenced to a term of
imprisonment based on a sentencing range that has subsequently been lowered by the Sentencing
Commission pursuant to 28 U.S.C. § 994(o).” In doing so, the Court must consider the factors set
forth in 18 U.S.C. § 3553(a) and must ensure that any reduction “is consistent with applicable
policy statements issued by the Sentencing Commission.” 18 U.S.C. § 3582(c)(2). Thus, a
defendant urging a sentence reduction under § 3582(c)(2) must satisfy two criteria: (1) the
Sentencing Commission must have lowered the applicable guideline sentencing range, and (2) the
reduction must be consistent with applicable policy statements issued by the Sentencing
Commission. If the defendant cannot satisfy the first criterion, the Court has no subject matter
jurisdiction to consider the reduction request. United States v. Lawrence, 535 F.3d 631, 637-
38 (7th Cir. 2008); see United States v. Forman, 553 F.3d 585, 588 (7th Cir. 2009), cert.
denied, 129 S. Ct. 2817 (2009). Defendant cannot satisfy the first criterion because he was not
“sentenced to a term of imprisonment based on a sentencing range that has subsequently been
lowered by the Sentencing Commission pursuant to 28 U.S.C. § 994(o).” 18 U.S.C. § 3582(c)(2).
Amendments 706 and 711 amended U.S.S.G. § 2D1.1(c) as of November 1, 2007, to lower by two
points the base offense levels associated with various amounts of crack cocaine. Amendment 715,
effective May 1, 2008, further amended the commentary to U.S.S.G. § 2D1.1 by revising the
manner in which offense levels are determined in cases involving crack cocaine in combination
with other controlled substances. The Sentencing Commission amended U.S.S.G. § 2D1.1(c)
intending to alter the disparity in sentences involving crack cocaine and sentences involving
powder cocaine. The amendments did not, however, reduce the sentencing range of defendants
whose relevant conduct was 4.5 kilograms or more of crack cocaine. See Forman, 553 F.3d at
590 (stating that the amendment “affects only defendants who are responsible for
distributing fewer than 4.5 kilograms of crack cocaine”). Defendant was sentence based on
relevant conduct that included more than 4.5 kilograms of crack cocaine - his relevant conduct
was determined to be 20.52 kilograms of crack cocaine. Thus, the amendment did not lower his
guideline range, and he cannot satisfy the first criterion under 18 U.S.C. § 3582(c)(2) for
obtaining a sentence reduction.

                                          Page 2 of 3
Case 3:99-cr-30022-DRH     Document 629 Filed 04/15/10     Page 3 of 3    Page ID
                                     #486



            The Court therefore GRANTS counsel’s Motion to Withdraw (Doc. 609)

and thus DISMISSES as moot Defendant’s pro se Motions for Retroactive

Application of Sentencing Guidelines to Crack Cocaine Offense, pursuant to 18

U.S.C. § 3582 (Docs. 568 & 573), and DENIES as moot his pro se Motion For

Emergency Bond (Doc. 569). The Clerk is DIRECTED to mail a copy of this Order

via U.S. mail to defendant Albert L. Gardner’s last known address.



            IT IS SO ORDERED.

            Signed this 14th day of April, 2010.



                                            /s/ DavidRHer|do|
                                           Chief Judge
                                           United States District Court




                                   Page 3 of 3
